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                            David Woods Jail Call
                             10/24/2023 7:01 pm
                               (563) 676-3233

Michelle Woods:   Are you okay?

David Woods:      I mean, as okay as I can be. It's just—it's different—it's not
                  how I imagined it working out either. So—

Michelle Woods:   But you did bad things.

David Woods:      I just—

Michelle Woods:   And had me lie for you. And I found out right before I walked
                  on the stage, as I was walking into the courtroom, following the
                  guy walking me in, that's when I saw [Minor Victim 2] in
                  another room crying by himself. The lawyer had just walked
                  out of the room and I stopped and I went in and said, why are
                  you crying? And he told me right then as I was walking into the
                  courtroom.

David Woods:      I'm so sorry.

Michelle Woods:   Thank you. I needed to hear that. Um, I, I don't want this to
                  be a depressing call because I, I've been looking forward to
                  talking to you. So let's start talking about other shit, shall we?

David Woods:      Sure.




                                                                             GOVERNMENT
                                                                               EXHIBIT

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                                                                               3:22-cr-36
